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detailed progress as your shipment speeds through the DHL network.

Result Summary

Waybill: 2569192931 Sunday, June 03, 2018 at 11:44 AM 1 Pieces
= f Origin Service Area:
\4, Retumed to shipper > NEW YORK, NY - DOYLESTOWN - USA
> Get Proof of Delivery Destination Service Area:
» TEHRAN - TEHRAN - IRAN (ISLAMIC REPUBLIC OF)
Sunday, June 03, 2018 Location Time Pieces
24 Returned to shipper TEHRAN - IRAN (ISLAMIC REPUBLIC 11:44 AM
OF)
Saturday, June 02, 2018 Location Time Pieces
23 Recipient refused delivery TEHRAN - IRAN (ISLAMIC REPUBLIC 12:52 PM 1 Pieces
OF)
22 With delivery courier TEHRAN - IRAN (ISLAMIC REPUBLIC 8:14 AM 1 Pieces
OF)
Thursday, May 31, 2018 Location Time Pieces
21 Arrived at Delivery Facility in TEHRAN -IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 3:51 PM 1 Pieces
(ISLAMIC REPUBLIC OF) OF)
20 Departed Facility in TEHRAN - IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 1:02 PM 1 Pieces
(ISLAMIC REPUBLIC OF) OF)
19 Clearance processing complete at TEHRAN- TEHRAN - IRAN (ISLAMIC REPUBLIC 10:30 AM 1 Pieces
IRAN (ISLAMIC REPUBLIC OF) OF)
18 Clearance event TEHRAN - IRAN (ISLAMIC REPUBLIC 9:51 AM 1 Pieces
OF)
17 Arrived at Sort Facility TEHRAN - IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 9:40 AM 1 Pieces
(ISLAMIC REPUBLIC OF) OF)
Wednesday, May 30, 2018 Location Time Pieces
16 Departed Facility in AE- HUB & GATEWAYS = AE-HUB& GATEWAYS- UNITED ARAB ~ 6:37 PM 1 Pieces
- UNITED ARAB EMIRATES EMIRATES
15 Processed at AE - HUB & GATEWAYS - AE - HUB & GATEWAYS - UNITED ARAB ~~ 6:36 PM 1 Pieces
UNITED ARAB EMIRATES EMIRATES
14 Arrived at Sort Facility AE - HUB & AE - HUB & GATEWAYS - UNITED ARAB 8:59 AM 1 Pieces
GATEWAYS - UNITED ARAB EMIRATES EMIRATES
13 Departed Facility in BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 5:17 AM 1 Pieces
12 Processed at BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 4:48 AM Fa 1 Pieces
11 Arrived at Sort Facility BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 2:23 AM 1 Pieces
Tuesday, May 29, 2018 Location Time Pieces
10 Departed Facility in CINCINNATI HUB-USA — CINCINNATI HUB, OH - USA 5:47 AM 1 Pieces
9 Processed at CINCINNATI HUB - USA CINCINNATI HUB, OH - USA 4:11 AM 1 Pieces
Sunday, May 27, 2018 Location Time Pieces
8 Clearance processing complete at CINCINNATI HUB, OH - USA 7:23 PM 4 Pieces
CINCINNATI HUB - USA
Saturday, May 26, 2018 Location Time Pieces

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Sunday, June 03, 2018

7 Shipment on hold

6 Arrived at Sort Facility CINCINNATI HUB -
USA

Friday, May 25, 2018

5 Departed Facility in ELIZABETH - USA

4 Processed at ELIZABETH - USA

3 Departed Facility in NEW YORK - USA

2 Processed at NEW YORK - USA

fi Shipment picked up

Shipment Details...
From

THOMAS EDWARD MELLON III ESQUIRE
Doylestown , PA 18901
United States of America

Location

CINCINNATI HUB, OH - USA
CINCINNATI HUB, OH - USA

Location

ELIZABETH, NJ - USA
ELIZABETH, NJ - USA
NEW YORK, NY - USA
NEW YORK, NY - USA
NEW YORK, NY - USA

To

Tehran , Iran (islamic Republic Of)

Time Pieces
5:51 AM 1 Pieces

1:27 AM 41 Pieces

Time Pieces

10:51 PM 1 Pieces
10:41 PM 1 Pieces
10:13 PM 1 Pieces
10:09 PM 1 Pieces
12:32 PM 1 Pieces

Shipment Information

Ship Date: 05/25/2018

Pieces: 1

Total Weight: 2.0 lbs

Ship Type: Document
Shipment Reference: HOGLAN
Service: EXPRESS WORLDWIDE doc
Description: LEGAL PAPERWORK

Note on Weight

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detailed progress as your shipment speeds through the DHL network.

Result Summary

Waybill: 2569193292 Sunday, June 03, 2018 at 11:45 AM 1 Pieces
a \ Origin Service Area:
‘<4, Returned to shipper > NEW YORK, NY - DOYLESTOWN - USA
+ Get Proof of Delivery Destination Service Area:
> TEHRAN - TEHRAN - IRAN (ISLAMIC REPUBLIC OF)
Sunday, June 03, 2018 Location Time Pieces
24 Returned to shipper TEHRAN - IRAN (ISLAMIC REPUBLIC 11:45 AM
OF)
Saturday, June 02, 2018 Location Time Pieces
23 Recipient refused delivery TEHRAN - IRAN (ISLAMIC REPUBLIC 12:52 PM 1 Pieces
OF)
22 With delivery courier TEHRAN - IRAN (ISLAMIC REPUBLIC 8:14 AM 1 Pieces
OF)
Thursday, May 31, 2018 Location Time Pieces
21 Arrived at Delivery Facility in TEHRAN -IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 3:46 PM 4 Pieces
(ISLAMIC REPUBLIC OF) OF)
20 Departed Facility in TEHRAN - IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 1:02 PM 4 Pieces
(ISLAMIC REPUBLIC OF) OF)
19 Clearance processing complete at TEHRAN - TEHRAN - IRAN (ISLAMIC REPUBLIC 10:30 AM 1 Pieces
IRAN (ISLAMIC REPUBLIC OF) OF)
18 Clearance event TEHRAN - IRAN (ISLAMIC REPUBLIC 9:51 AM 1 Pieces
OF)
17 Arrived at Sort Facility TEHRAN - IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 9:40 AM 1 Pieces
(ISLAMIC REPUBLIC OF) OF)
Wednesday, May 30, 2018 Location Time Pieces
16 Departed Facility in AE- HUB & GATEWAYS = AE-HUB & GATEWAYS - UNITED ARAB _ 6:37 PM 4 Pieces
- UNITED ARAB EMIRATES EMIRATES
15 Processed at AE - HUB & GATEWAYS - AE - HUB & GATEWAYS - UNITED ARAB 6:36 PM 4 Pieces
UNITED ARAB EMIRATES EMIRATES
14 Arrived at Sort Facility AE - HUB & AE - HUB & GATEWAYS - UNITED ARAB 8:59 AM 1 Pieces
GATEWAYS - UNITED ARAB EMIRATES EMIRATES
3 Departed Facility in BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 5:17 AM 1 Pieces
12 Processed at BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 4:48 AM 1 Pieces
11 Arrived at Sort Facility BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 2:23 AM 3 1 Pieces
Tuesday, May 29, 2018 Location Time Pieces
10 Departed Facility in CINCINNATI HUB - USA CINCINNATI HUB, OH - USA 5:47 AM 1 Pieces
9 Processed at CINCINNATI HUB - USA CINCINNATI HUB, OH - USA 4:11 AM 1 Pieces
Sunday, May 27, 2018 Location Time Pieces
8 Clearance processing complete at CINCINNATI HUB, OH - USA 7:23 PM 1 Pieces
CINCINNATI HUB - USA
Saturday, May 26, 2018 Location Time Pieces

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Sunday, June 03, 2018

7 Shipment on hold
6 Arrived at Sort Facility CINCINNATI HUB -
USA

Friday, May 25, 2018

5 Departed Facility in ELIZABETH - USA
4 Processed at ELIZABETH - USA

3 Departed Facility in NEW YORK - USA
2 Processed at NEW YORK - USA

1 Shipment picked up

Shipment Details...
From

THOMAS EDWARD MELLON II] ESQUIRE
Doylestown , PA 18901
United States of America

Location

CINCINNATI HUB, OH - USA
CINCINNATI HUB, OH - USA

Location

ELIZABETH, NJ - USA
ELIZABETH, NJ - USA
NEW YORK, NY - USA
NEW YORK, NY - USA

NEW YORK, NY - USA

To

Tehran , Iran (islamic Republic Of)

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Time Pieces
5:51 AM 1 Pieces

1:27 AM 1 Pieces

Time Pieces

10:51 PM 1 Pieces
10:41 PM 1 Pieces
10:13 PM 41 Pieces
10:09 PM 1 Pieces

12:32 PM 1 Pieces

Shipment Information

Ship Date: 05/25/2018

Pieces: 1

Total Weight: 2.0 Ibs

Ship Type: Document
Shipment Reference: HOGLAN
Service: EXPRESS WORLDWIDE doc
Description: LEGAL PAPERWORK

Note on Weight

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detailed progress as your shipment speeds through the DHL network.

Result Summary

Waybill: 2569193675 Sunday, June 03, 2018 at 11:39 AM 1 Pieces
ah e Origin Service Area:
‘4, Returned to shipper > NEW YORK, NY - DOYLESTOWN - USA
> Get Proof of Delivery Destination Service Area:
> TEHRAN - TEHRAN - IRAN (ISLAMIC REPUBLIC OF)
Sunday, June 03, 2018 Location Time Pieces
24 Returned to shipper TEHRAN - IRAN (ISLAMIC REPUBLIC 11:39 AM
OF)
Saturday, June 02, 2018 Location Time Pieces
23 Recipient refused delivery TEHRAN - IRAN (ISLAMIC REPUBLIC 12:52 PM 1 Pieces
OF}
22 With delivery courier TEHRAN - IRAN (ISLAMIC REPUBLIC 8:14 AM 1 Pieces
OF)
Thursday, May 31, 2018 Location Time Pieces
21 Arrived at Delivery Facility in TEHRAN -IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 3:51 PM 1 Pieces
(ISLAMIC REPUBLIC OF) OF)
20 Departed Facility in TEHRAN - IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 1:02 PM 4 Pieces
(ISLAMIC REPUBLIC OF) OF)
19 Clearance processing complete at TEHRAN- TEHRAN - IRAN (ISLAMIC REPUBLIC 10:30 AM 1 Pieces
IRAN (ISLAMIC REPUBLIC OF) OF)
18 Clearance event TEHRAN - IRAN (ISLAMIC REPUBLIC 9:51 AM 1 Pieces
OF)
17 Arrived at Sort Facility TEHRAN - IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 9:40 AM 1 Pieces
(ISLAMIC REPUBLIC OF) OF)
Wednesday, May 30, 2018 Location Time Pieces
16 Departed Facility in AE- HUB & GATEWAYS = AE-HUB & GATEWAYS- UNITED ARAB 6:37 PM 4 Pieces
- UNITED ARAB EMIRATES EMIRATES
15 Processed at AE - HUB & GATEWAYS - AE - HUB & GATEWAYS - UNITED ARAB 6:36 PM 1 Pieces
UNITED ARAB EMIRATES EMIRATES
14 Arrived at Sort Facility AE - HUB & AE - HUB & GATEWAYS - UNITED ARAB 8:59 AM 1 Pieces
GATEWAYS - UNITED ARAB EMIRATES EMIRATES
13 Departed Facility in BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 5:17 AM 1 Pieces
12 Processed at BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 4:48 AM 1 Pieces
11 Arrived at Sort Facility BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 2:23 AM 1 Pieces
Tuesday, May 29, 2018 Location Time Pieces
10 Departed Facility in CINCINNATI HUB-USA = CINCINNATI HUB, OH - USA 5:47 AM 4 Pieces
9 Processed at CINCINNATI HUB - USA CINCINNATI HUB, OH - USA 4:11 AM 41 Pieces
Sunday, May 27, 2018 Location Time Pieces
8 Clearance processing complete at CINCINNATI HUB, OH - USA 7:23 PM 1 Pieces
CINCINNATI HUB - USA
Saturday, May 26, 2018 Location Time Pieces

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Sunday, June 03, 2018

7 Shipment on hold
6 Arrived at Sort Facility CINCINNATI HUB -
USA

Friday, May 25, 2018

5 Departed Facility in ELIZABETH - USA
4 Processed at ELIZABETH - USA

3 Departed Facility in NEW YORK - USA
2 Processed at NEW YORK - USA

1 Shipment picked up

Shipment Details...
From

THOMAS EDWARD MELLON Ill ESQUIRE
Doylestown , PA 18901
United States of America

Location
CINCINNATI HUB, OH - USA

CINCINNATI HUB, OH - USA

Location

ELIZABETH, Nd - USA
ELIZABETH, NJ - USA
NEW YORK, NY - USA
NEW YORK, NY - USA

NEW YORK, NY - USA

To

Tehran , Iran (islamic Republic Of)

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Time Pieces
5:51 AM 1 Pieces

1:27 AM 1 Pieces

Time Pieces

10:51 PM 1 Pieces
10:41 PM 1 Pieces
10:13 PM 1 Pieces
10:09 PM 1 Pieces

12:32 PM 1 Pieces

Shipment Information

Ship Date: 05/25/2018

Pieces: 1

Total Weight: 2.0 Ibs

Ship Type: Document
Shipment Reference: HOGLAN
Service: EXPRESS WORLDWIDE doc
Description: LEGAL PAPERWORK

Note on Weight

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detailed progress as your shipment speeds through the DHL network.

Result Summary

Waybill: 2569193981 Sunday, June 03, 2018 at 11:43 AM 1 Pieces
F z Origin Service Area:
<«, Returned to shipper > NEW YORK, NY - DOYLESTOWN - USA
> Get Proof of Delivery Destination Service Area:
> TEHRAN - TEHRAN - IRAN (ISLAMIC REPUBLIC OF)
Sunday, June 03, 2018 Location Time Pieces
24 Returned to shipper TEHRAN - IRAN (ISLAMIC REPUBLIC 11:43 AM
OF)
Saturday, June 02, 2018 Location Time Pieces
23 Recipient refused delivery TEHRAN - IRAN (ISLAMIC REPUBLIC 12:52 PM 1 Pieces
OF)
22 With delivery courier TEHRAN - IRAN (ISLAMIC REPUBLIC 8:14 AM 1 Pieces
OF)
Thursday, May 31, 2018 Location Time Pieces
21 Arrived at Delivery Facility in TEHRAN -IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 3:47 PM
(ISLAMIC REPUBLIC OF) OF)
20 Departed Facility in TEHRAN - IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 1:02 PM 4 Pieces
(ISLAMIC REPUBLIC OF) OF)
19 Clearance processing complete at TEHRAN- TEHRAN - IRAN (ISLAMIC REPUBLIC 10:30 AM 1 Pieces
IRAN (ISLAMIC REPUBLIC OF) OF)
18 Clearance event TEHRAN - IRAN (ISLAMIC REPUBLIC 9:51 AM 1 Pieces
OF)
17 Arrived at Sort Facility TEHRAN - IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 9:40 AM 1 Pieces
(ISLAMIC REPUBLIC OF) OF)
Wednesday, May 30, 2018 Location Time Pieces
16 Departed Facility in AE - HUB & GATEWAYS AE - HUB & GATEWAYS - UNITED ARAB 6:37 PM 1 Pieces
- UNITED ARAB EMIRATES EMIRATES
15 Processed at AF - HUB & GATEWAYS - AE - HUB & GATEWAYS - UNITED ARAB 6:36 PM 1 Pieces
UNITED ARAB EMIRATES EMIRATES
14 Arrived at Sort Facility AE - HUB & AE - HUB & GATEWAYS - UNITED ARAB 8:59 AM 1 Pieces
GATEWAYS - UNITED ARAB EMIRATES EMIRATES
13 Departed Facility in BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 5:17 AM 1 Pieces
12 Processed at BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 4:48 AM ff 1 Pieces
11 Arrived at Sort Facility BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 2:23 AM 1 Pieces
Tuesday, May 29, 2018 Location Time Pieces
10 Departed Facility in CINCINNATI HUB - USA CINCINNATI HUB, OH - USA 5:47 AM 1 Pieces
9 Processed at CINCINNATI HUB - USA CINCINNATI HUB, OH- USA 4:11 AM 1 Pieces
Sunday, May 27, 2018 Location Time Pieces
8 Clearance processing complete at CINCINNATI HUB, OH - USA 7:23 PM 1 Pieces
CINCINNATI HUB - USA
Saturday, May 26, 2018 Location Time Pieces

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Sunday, June 03, 2018

x Shipment on hold

6 Arrived at Sort Facility CINCINNATI HUB -
USA

Friday, May 25, 2018

5 Departed Facility in ELIZABETH - USA

4 Processed at ELIZABETH - USA

3 Departed Facility in NEW YORK - USA

2 Processed at NEW YORK - USA

1 Shipment picked up

Shipment Details...
From

THOMAS EDWARD MELLON IIl ESQUIRE
Doylestown , PA 18901
United States of America

Location
CINCINNATI HUB, OH - USA
CINCINNATI HUB, OH - USA

Location

ELIZABETH, NJ - USA
ELIZABETH, NJ - USA
NEW YORK, NY - USA
NEW YORK, NY - USA

NEW YORK, NY - USA

To

Tehran , Iran {iskamic Republic Of)

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Time Pieces
5:51 AM 1 Pieces

1:27 AM 1 Pieces

Time Pieces
10:51 PM 1 Pieces
10:41 PM 1 Pieces

10:13 PM FE 1 Pieces
10:09 PM 1 Pieces

12:32 PM 1 Pieces

Shipment Information

Ship Date: 05/25/2018

Pieces: 1

Total Weight: 2.0 Ibs

Ship Type: Document
Shipment Reference: HOGLAN
Service: EXPRESS WORLDWIDE doc
Description: LEGAL PAPERWORK

Note on Weight

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Result Summary

Waybill: 2569194390 Sunday, June 03, 2018 at 11:45 AM 1 Pieces
a : Origin Service Area:
“4, Returned to shipper > NEW YORK, NY - DOYLESTOWN - USA
> Get Proof of Delivery Destination Service Area:
> TEHRAN - TEHRAN - IRAN (ISLAMIC REPUBLIC OF)
Sunday, June 03, 2018 Location Time Pieces
24 Returned to shipper TEHRAN - IRAN (ISLAMIC REPUBLIC 11:45 AM
OF)
Saturday, June 02, 2018 Location Time Pieces
23 Recipient refused delivery TEHRAN - IRAN (ISLAMIC REPUBLIC 12:52 PM 4 Pieces
OF)
22 With delivery courier TEHRAN - IRAN (ISLAMIC REPUBLIC 8:14 AM 4 Pieces
OF)
Thursday, May 31, 2018 Location Time Pieces
21 Arrived at Delivery Facility in TEHRAN -IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 3:44 PM
(ISLAMIC REPUBLIC OF) OF)
20 Departed Facility in TEHRAN - IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 1:02 PM 1 Pieces
(ISLAMIC REPUBLIC OF) OF)
19 Clearance processing complete at TEHRAN- TEHRAN - IRAN (ISLAMIC REPUBLIC 10:30 AM 1 Pieces
IRAN (ISLAMIC REPUBLIC OF) OF)
18 Clearance event TEHRAN - IRAN (ISLAMIC REPUBLIC 9:51 AM 1 Pieces
OF)
17 Arrived at Sort Facility TEHRAN - IRAN TEHRAN - IRAN (ISLAMIC REPUBLIC 9:40 AM 1 Pieces
(ISLAMIC REPUBLIC OF) OF)
Wednesday, May 30, 2018 Location Time Pieces
16 Departed Facility in AE- HUB & GATEWAYS AE-HUB & GATEWAYS- UNITED ARAB 6:37 PM 1 Pieces
- UNITED ARAB EMIRATES EMIRATES
15 Processed at AE - HUB & GATEWAYS - AE - HUB & GATEWAYS - UNITED ARAB 6:36 PM 1 Pieces
UNITED ARAB EMIRATES EMIRATES
14 Arrived at Sort Facility AE - HUB & AE - HUB & GATEWAYS - UNITED ARAB 8:59 AM 1 Pieces
GATEWAYS - UNITED ARAB EMIRATES EMIRATES
13 Departed Facility in BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 5:17 AM 1 Pieces
12 Processed at BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 4:48 AM 1 Pieces
11 Arrived at Sort Facility BAHRAIN - BAHRAIN BAHRAIN - BAHRAIN 2:23 AM 1 Pieces
Tuesday, May 29, 2018 Location Time Pieces
10 Departed Facility in CINCINNATI HUB-USA — CINCINNATI HUB, OH - USA 5:47 AM 1 Pieces
9 Processed at CINCINNATI HUB - USA CINCINNATI HUB, OH - USA 4:11 AM 1 Pieces
Sunday, May 27, 2018 Location Time Pieces
8 Clearance processing complete at CINCINNATI HUB, OH - USA 7:23 PM 4 Pieces
CINCINNATI HUB - USA
Saturday, May 26, 2018 Location Time Pieces

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Sunday, June 03, 2018 Location Time Pieces

7 Shipment on hold CINCINNATI HUB, OH - USA 5:51 AM 1 Pieces

6 Arrived at Sort Facility CINCINNATI HUB - CINCINNATI HUB, OH - USA 1:27 AM 1 Pieces
USA

Friday, May 25, 2018 Location Time Pieces

5 Departed Facility in ELIZABETH - USA ELIZABETH, NJ - USA 10:51 PM 1 Pieces

4 Processed at ELIZABETH - USA ELIZABETH, NJ - USA 10:41 PM 1 Pieces

3 Departed Facility in NEW YORK - USA NEW YORK, NY - USA 10:13 PM 1 Pieces

2 Processed at NEW YORK - USA NEW YORK, NY - USA 10:09 PM . 1 Pieces

1 Shipment picked up NEW YORK, NY - USA 12:32 PM 1 Pieces

Shipment Details...

From To Shipment Information

THOMAS EDWARD MELLON III ESQUIRE Tehran , Iran (islamic Republic Of) Ship Date: 05/25/2018

Doylestown , PA 18901 Pieces: 1

United States of America Total Weight: 2.0 lbs Note on Weight

Ship Type: Document

Shipment Reference: HOGLAN
Service: EXPRESS WORLDWIDE doc
Description: LEGAL PAPERWORK

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detailed progress as your shipment speeds through the DHL network.

Result Summary

Waybill: 2569195042

—4, Returned to shipper
+ Get Proof of Delivery

Sunday, June 03, 2018

25 Returned to shipper

Saturday, June 02, 2018

24 Recipient refused delivery
23 With delivery courier

Thursday, May 31, 2018

22 Arrived at Delivery Facility in TEHRAN - IRAN
(ISLAMIC REPUBLIC OF)

21 Departed Facility in TEHRAN - IRAN
(ISLAMIC REPUBLIC OF)

20 Clearance processing complete at TEHRAN -
IRAN (ISLAMIC REPUBLIC OF)

19 Clearance event

18 Arrived at Sort Facility TEHRAN - IRAN
(ISLAMIC REPUBLIC OF)

Wednesday, May 30, 2018

17 Departed Facility in AE - HUB & GATEWAYS
- UNITED ARAB EMIRATES

16 Processed at AE - HUB & GATEWAYS -
UNITED ARAB EMIRATES

15 Arrived at Sort Facility AE - HUB &
GATEWAYS - UNITED ARAB EMIRATES

14 Departed Facility in BAHRAIN - BAHRAIN
13 Processed at BAHRAIN - BAHRAIN

12 Arrived at Sort Facility BAHRAIN - BAHRAIN
Tuesday, May 29, 2018

11 Departed Facility in CINCINNATI HUB - USA
10 Processed at CINCINNATI HUB - USA
Sunday, May 27, 2018

9 Clearance processing complete at
CINCINNATI HUB - USA

Saturday, May 26, 2018

Sunday, June 03, 2018 at 11:43 AM
Origin Service Area:

>» NEW YORK, NY - DOYLESTOWN - USA

Destination Service Area:

» TEHRAN - TEHRAN - IRAN (ISLAMIC REPUBLIC OF)

Location

TEHRAN - IRAN (ISLAMIC REPUBLIC
OF)

Location

TEHRAN - IRAN (ISLAMIC REPUBLIC
OF)

TEHRAN - IRAN (ISLAMIC REPUBLIC
OF)

Location

TEHRAN - IRAN (ISLAMIC REPUBLIC
OF)

TEHRAN - IRAN (ISLAMIC REPUBLIC
OF) .

TEHRAN - IRAN (ISLAMIC REPUBLIC
OF)

TEHRAN - IRAN (ISLAMIC REPUBLIC
OF)

TEHRAN - IRAN (ISLAMIC REPUBLIC
OF)

Location

AE - HUB & GATEWAYS - UNITED ARAB

EMIRATES

AE - HUB & GATEWAYS - UNITED ARAB

EMIRATES

AE - HUB & GATEWAYS - UNITED ARAB

EMIRATES

BAHRAIN - BAHRAIN
BAHRAIN - BAHRAIN
BAHRAIN - BAHRAIN

Location

CINCINNATI HUB, OH - USA
CINCINNATI HUB, OH - USA

Location

CINCINNATI HUB, OH - USA

Location

Time

11:43 AM

Time

12:52 PM
8:14 AM

Time

3:53 PM
1:02 PM
1 0:30 AM
9:51 AM
9:40 AM

Time

6:37 PM
6:36 PM
8:59 AM

5:17 AM
4:48 AM
2:23 AM
Time

5:47 AM
4:11 AM
Time

7:23 PM

Time

1 Pieces

Pieces

Pieces

1 Pieces

1 Pieces

Pieces

1 Pieces

1 Pieces

1 Pieces

1 Pieces

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1 Pieces

1 Pieces

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Pieces

1 Pieces

Pieces

Case 1:11-cv-07550-GBD-SN Document 264-3 Filed 07/12/18 Page 12 of 12

Sunday, June 03, 2018
8 Shipment on hold

7 Processed at CINCINNATI HUB - USA

6 Arrived at Sort Facility CINCINNATI HUB -

USA
Friday, May 25, 2018

5 Departed Facility in ELIZABETH - USA
4 Processed at ELIZABETH - USA
3 Departed Facility in NEW YORK - USA
2 Processed at NEW YORK - USA

os

Shipment picked up

Shipment Details...
From

THOMAS EDWARD MELLON II] ESQUIRE
Doylestown , PA 18901
United States of America

Location

CINCINNATI HUB, OH - USA
CINCINNATI HUB, OH - USA

CINCINNATI HUB, OH - USA

Location

ELIZABETH, NJ - USA
ELIZABETH, NJ- USA
NEW YORK, NY - USA
NEW YORK, NY - USA
NEW YORK, NY - USA

To

Tehran , Iran (islamic Republic Of)

Time Pieces
5:51 AM 1 Pieces
2:02 AM 1 Pieces

1:27 AM 1 Pieces

Time Pieces

10:51 PM 1 Pieces
10:41 PM 4 Pieces
10:13 PM 1 Pieces
10:09 PM 1 Pieces
12:32 PM 1 Pieces

Shipment Information

Ship Date: 05/25/2018

Pieces: 1

Total Weight: 2.0 lbs

Ship Type: Document
Shipment Reference: HOGLAN
Service: EXPRESS WORLDWIDE doc
Description: LEGAL PAPERWORK

Note on Weight

if you would prefer to speak to someone personally about the location of your shipment, please + Contact DHL Express Customer Service.

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